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B2570 (Form 2570 - Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding) ( 12/15)

                                      UNITED STATES B ANKRUPTCY COURT
                                                                             District of Delaware
                                                                                              - - - -- - - - - - - - - - - - - - - - -
In re AmeriFirst Financial, Inc.
                                    Debtor
                                                                                      Case No. 23-11240-TMH
          (Complete ifissued in an adversary proceeding)
                                                                                      Chapter _1_1 _ __

                                    Plaintiff
                                       v.                                             Adv. Proc. No.
                                  Defendant

         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO PERMIT
         INSPECTION OF PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

 To: RCP Credit Opportunities Fund Loan SPV (Fund Ill), L.P., RCP Customized Credit Fund (Fund IV-A), Reverence Capital Partners
                                                           (Name ofperson to whom the subpoena is directed)

 ~ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
 documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
 material: See Exhibit A attached hereto.

 PLACE Morris, Nichols, Arsht & Tunnell LLP                                                                    DA TE AND TIME
       1201 North Market Street, 16th Floor
       Wilmington, DE 19801                                                                                   October 10, 2023, at 5:00 p.m.

 0 Inspection ofPremises: YOU ARE COMMANDED to pennit entry onto the designated premises, land, or
 other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
 may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.
I PLACE                                                                                                      I DATE AND TIME

         The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
 attached - Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
 subpoena; and Rule 4S(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
 doing so.

 Date: 10/9/2023
                                    CLERK OF COURT

                                                                                      OR

                                    Signature ofClerk or Deputy Clerk

 The name, address, email address, and telephone number of the attorney representing (name ofparty)
 Official Committee of Unsecured Creditors , who issues or requests this subpoena, are:
 Donna L. Culver, Esq., dculver@morrisnichols.com, Morris, Nichols, Arsht & Tunnell LLP, 1201 North Market Street, Wilmington, DE 19801, T: 302-351-9208, F: 302-225-2571

                                  Notice to the person who issues or requests this subpoena
 If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
 inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
 the person to whom it is directed. Fed. R. Civ. P. 45(a)( 4).
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                                                               PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, ?fany): _ _ __ _________________
on (date) - - - - -


D I served the subpoena by delivering a copy to the named person as follows: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                       on (date)
- - - -- - -- -- - -- - - -                                        --------- ; or
DI returned the subpoena unexecuted because: _ _ _ _ _ _ _ _ _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ __ __


Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day's attendance, and the mileage allowed by law, in the amount of $ _ _ _ _ _ _ _ _ _ __

 My fees are$ _ _ _ _ for travel and $_ __ _ for services, for a total of$_ _ __


          I declare under penalty of perjury that this information is true and correct.

Date: - - - - - - -

                                                                                                               Server 's siKnature


                                                                                                             Printed name and title




                                                                                                                Server 's address


Additional information concerning attempted service, etc.:
                      Case
82570 (Form 2570 Subpoena       23-11240-TMH
                          to Produce Documents, Information,Doc   232-1
                                                             or Objects         Filed
                                                                        or To Permit     10/09/23
                                                                                     Inspection            Page
                                                                                                in a Bankruptcy Case 3
                                                                                                                     or of 13 Proceeding) (Page 3)
                                                                                                                        Adversary


                            Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                        (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

 (c) Place of compliance.                                                                   (ii) disclosing an unretained expet1's opinion or infom1ation that docs
                                                                                      not describe speci fie occurrences in dispute and results from the expert's
  (I) For a Trial. Hearing, or Deposition. A subpoena may command a                   study that was not requested by a pa11y.
person to attend a trial, hearing, or deposition only as follows:                         (C) Specijj;ing Conditions as an Alternative. In the circum~tances
    (A) within 100 miles of where the person resides. is employed. or                 described in Rule 45{d)(3)(B), the court may, instead of quashmg or
regularly transacts business in person; or                                            modifying a subpoena, order appearance or production under speci lied
    (B) within the state where the person resides. is employed. or regularly          conditions if the serving party:
transacts business in person. if the person                                                  (i) shows a substantial need for the testimony or material that cannot
      (i) is a pa11y or a party's officer; or                                         be otherwise met without undue hardship: and
      (ii) is commanded to attend a trial and would not incur substantial                    (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                              compensated.

  (2) For Other Discovery. A subpoena may command:                                    (c) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored information, or
things m a place within I 00 miles of where the person resides. is employed.            ( J) Producing Documents or Electronical(v Stored Jriformation. These
or regularly transacts business io person; and                                        procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                      information:
                                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                      documents must produce them as they are kept in the ordinary course of
                                                                                      business or must organize and label them to correspond to the categories in
      1I) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                                      the demand.
attorney responsible for issuing and serving a subpoena must tuke
reasonable steps to avoid imposing undue burden or expense on a person                     (BJ Formfor Producing E/ectronical(v Stored Information f,'ot
                                                                                      Spec/f,ed. If a subpoena does not specify a fonn for ~roducing           . .
subject to the subpoena. The court for the district where compliance is
                                                                                      electronicall) stored infonnation. the person respondmg must produce 1t m
required must enforce this duty and impose an appropriate sanction -
which may include lost earnings and reasonable attorney's fees - on a
                                                                                      a fo11n or forms in which it is ordinarily maintained or in a reasonably
                                                                                      usable fonn or forms.
party or attorney who fails to comply.
                                                                                           /C') Electronical(v Stored Information Produced in On(r One Form. The
                                                                                      person responding need not produce the same electronically stored
  (2) Command 10 Produce Materials or Permit Inspection.
                                                                                      infom1ation in more than one fom1.
    (A) Appearance Nol Required. A person commanded to produce
documents, electronically stored information, or tangible things, or to                    (DJ Inaccessible Electronical(v Stored Information. The person
permit the inspection of premises. need not appear in person at the place of          responding need not provide discovery of electronically stored information
                                                                                      from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
hearing, or trial.                                                                    of undue burden or cost. On motion to compel discovery or for a protective
                                                                                      order, the person responding must show that the information is not
    (B) Objecrions. A person commanded to produce documents or tangible
                                                                                      reasonably accessible because of undue burden or cost. If that showing is
things or to pe1mit inspection may serve on the party or attorney designated
                                                                                      made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying. testing or
                                                                                      requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises - or to
                                                                                      26{b)(2)(C). fhe court may specify conditions for the discovery .
producing electronically stored info1mation in the form or fonns requested.
The objection must be served before the earlier of the time specified for
                                                                                         (2) ('/aiming Privilege or Pr-otection.
compliance or 14 days after the subpoena is served. !fan objection is made.
the following rules apply:                                                                 (A) Information Withheld. A person \\'ithholding subpoenaed
      ( i) At any time, on nntice to the commanded person. the serving party
                                                                                      infonnation under a claim that it is privileged or subject to protection as
                                                                                      trial-preparation material must:
mav move the court for the district where compliance is required for an
ord~r compelling production or inspection.                                                   (i) expressly make the claim: and
                                                                                             (ii) describe the nature of the withheld documents, communications,
      (ii) These acts may be required only as directed in the order, and the
                                                                                      or tangible things in a manner that, without revealing information itself
order must protect a person who is neither a party nor a party's officer from
                                                                                      privileged or protected. will enable the parties to assess the claim.
significant expense resulting from compliance.
                                                                                           (B) Information Produced. If infonnation produced in response to a
                                                                                      subpoen; is suqject to a claim of privilege or of protection as trial-
  (3) Quashing or Afodijying a Subpoena.
    (A/ When Required. On timely motion, the court for the district where
                                                                                      preparation material, the person making the claim may notify any party that
                                                                                      received the information of the claim and the basis for it. After being
compliance is required must quash or modify a subpoena that:
      (i) fails to allow a reasonable time to comply:                                 notified. u pai1y must promptly return, sequester, or destroy the specified
                                                                                      infomlation and any copies it has; must not use or disclose the infonnation
      (ii) requires a person to comply beyond the geographical limits
specified in Rule 45(c);                                                 .            until the claim is resolved: must take reasonable steps to retrieve the
                                                                                      information if the party disclosed it before being notified: and may
      (iii) requires disclosure of privileged or other protected matter, 1fno
exception or waiver applies; or                                                       promptly present the infonnation under seal to the court for the district
      (iv) subjects a person to undue burden.                                         where compliance is required for a determination of the claim. The person
                                                                                      who produced the information must preserve the information until the claim
    (B) When Permitted. To protect a person subject to or affected by a
                                                                                      is resolved.
subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:
      (i) disclosing a trade secret or other confidential research,
                                                                                      (g) Contempt. The cou11 for the district where compliance is required - and
development, or commercial information; or                                            also, after a motion is transferred, the issuing court - may hold in contempt
                                                                                      a person who. having been served. fails without adequate excuse lo obey
                                                                                      the subpoena or an order related to it


                                         For access to subpoena materials, see Fed. R. Civ. P 45(a) Committee Note (2013)
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                                           SCHEDULE A

                                           DEFINITIONS

       As used in this Request the following words shall have the definitions set forth below.

Terms not defined have the meanings assigned to them, if any, by sections 101 and 102 o f the

Bankruptcy Code, or other applicable law or rules. All terms not otherwise defined shall have

their ordinary and common meanings.

        l.       •'AFI" shall mean AmeriFirst Financial, Inc.

       2.       Any/all, and/or, singular/plural, gender: The singular includes the plural and vice

versa. The use of any gender includes the masculine and feminine genders. The use of the

disjunctive "or" includes the conjunctive "and" and vice versa. The use of the word "all" shall

be construed as "any and all," the word "any" shall be construed as "any and all;' and the word

"each'' shall be construed as "all and each.''

       3.       "Bankruptcy Cases'' shall mean the above-captioned chapter 11 cases pending in

the Bankruptcy Court.

       4.       "Bankruptcy Code'' shall means title 11 of the United States Code.

       5.       ·'Bankruptcy Court'' shall mean the United States Bankruptcy Com1 for the

District of Delaware.

       6.       "Communication'' or "communications·• shall mean any transmission of

information, the information transmitted, and any process by which information is transmitted,

including, but not limited to, oral, written, and electronic mail communications, letters, text

messages, and direct messages.

       7.       ''Concerning" shall mean directly or indirectly relating to, referring to. reflecting,

containing. pertaining to, showing, constituting, evidencing, describing, discussing, or

mentioning.
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       8.       ''Claims" shall have the meaning set forth in 11 U.S.C. § 101(5) of the

Bankruptcy Code. interpreted broadly.

        9.      "David Sloane" shall mean David Sloane as well as any subordinates, officers.

employees, agents, or associated individuals under his direction, or acting on his behalf.

        10.     ·'Debtors" shall mean. singularly or in combination, AFI, Phoenix, PSZJ and T.

Scott Avila (regardless of whether the Request refers to time periods before or after the Petition

Date), as well as any subordinates. officers, employees, agents, advisors or associated individuals

under their direction, as well as any affiliates, representatives. predecessors, successors. and all

persons acting in concert with or on behalf of AFI, Phoenix or T. Scott Avila.

        11.     ''DIP Motion" shall mean the Motion to Approve Debtor in Possession Financing

at docket number 21 in the Bankruptcy Cases.

       12.      "DIP Facility" shall mean the DIP Credit Facility, as used in the DIP Term Sheet.

       13.      "DIP Term Sheet"' shall mean the term sheet attached as Exhibit A to the Interim

DIP Order and the Final DIP Order entered in the Bankruptcy Cases.

       14.      "Directors" shall mean David Sloane and Jeffrey Dane.

       15.      "Document" or "documents" shall have the meaning set forth in Rule 34(a) of the

Federal Rules of Civil Procedure, made applicable to this proceeding by Rule 7034 of the

Federal Rules of Bankruptcy Procedure, and shall include, without limitation, any writing.

recording, photograph, electronic mail correspondence, computer database, data bank, report,

memoranda, books summarizing. ledgers or other items containing information of any kind or

nature. whether in draft or final form, however produced or reproduced, whatever its origin or

location, and regardless of the form in which such information exists or is maintained. In all

cases where originals and/or non-identical copies are not available, "documents" also means




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identical copies of original documents and copies of non-identical copies. The tenn "document"

also includes every copy of a writing or record where such copy contains any commentary or

notation of any kind which does not appear on the original or on any other copy. Without

limitation, a document is deemed to be within your control if you have ownership, possession, or

custody of the document, or a copy thereat or the right to secure the document or a copy thereof

from any other person or public or private entity having physical possession thereof.

        16.    ''First Day Declaration" shall mean the Declaration of T. Scott Avila in Support of'

First Day Motions [D.l. No. 20].

        17.    "Identified Individuals" shall mean, separately, collectively, or in any

combination, David Sloane, T. Scott Avila, and/or Jeffrey Dane.

        18.    "Interim DIP Order" shall mean the Interim Order (/) Authorizing Debtors (A) To

Obtain Postpetition Financing And (B) To Utilize Cash Collateral, (II) Granting Adequate

Protection To Prepetition Lenders, (Ill) Mod(fying The Automatic Stay, (IV) Scheduling A Final

Hearing, And (VJ Granting Related Reli4[D.I. No. 61] entered in the Bankruptcy Cases.

        19.     "Jeffrey Dane .. shall mean Jeffrey Dane as well as any subordinates, officers,

employees, agents, or associated individuals under his direction. or acting on his behalf.

       20.     "Paladin" shall mean Paladin Management Group, LLC, as well as any affiliates,

representatives, predecessors, successors. employees and all persons acting on behalf of Paladin

Management Group, LLC.

       21.     "Phoenix" shall mean Phoenix 1040. LLC, as well as any subordinates, officers.

employees, agents, advisors or associated individuals under their direction, as well as any

affiliates, representatives, predecessors, successors, and all persons acting in concert with or on

behalf of Phoenix l 040. LLC.




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       22.      "Phoenix Holdings·' shall mean Phoenix 1040 Holdings, LLC, as well as any

subordinates, officers, employees, agents. advisors or associated individuals under their

direction, as well as any affiliates, representatives, predecessors. successors, and all persons

acting in concert with or on behalf of Phoenix 1040 Holdings, LLC.

       23.      "Petition Date" shall mean August 24, 2023.

       24.      ·'Post-petition" shall mean the time period from and after the Petition Date.

       25.      "Proposed Final DIP Order'' means that certain proposed order, as well as any

subsequently amended versions of that proposed order, filed at docket number 82 in the

Bankruptcy Cases.

       26.      "PSZJ" shall mean Pachulski Stang Ziehl & Jones LLP.

       27.      '"T. Scott Avila.. shall mean T. Scott Avila as well as any subordinates, officers,

employees. agents. or associated individuals under his direction, or acting on his behalf.

       28.      "You," "your," or ·'RCP" shall mean RCP Credit Oppo1tunities Fund Loan SPY

(Fund III), L.P. , RCP Customized Credit Fund (Fund IV-A), Reverence Capital Partners, as well

as any subordinates, officers, employees, agents, advisors or associated individuals under their

direction, as well as any affiliates, representatives. predecessors. successors, and all persons

acting in conceit with or on behalf of RCP Credit Opportunities Fund Loan SPV (Fund III), L.P .,

RCP Customized Credit Fund (Fund IV-A), or Reverence Capital Partners.

                                         INSTRUCTIONS

        1.      The requests for production of documents contained in these document requests

shall be deemed to be a request for all such documents, whether prepared by you or by any other

party or any other person, which documents are in your possession, or in the possession. custody,

or control of your accountants, attorneys, consultants, receivers, employees, agents, or anyone

acting on your behalf.


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       2.      Each document is to be produced with all non-identical copies and drafts thereof:

in their entirety, without abbreviations or redactions.

       3.      Documents shall be produced as kept in the ordinary course of business.

       4.      If any document is withheld from production based on a claim of attorney-client

privilege or other grounds, provide a privilege log that contains the following information with

respect to each document:

               a.       The date of the document;

               b.       The type of the document

               c.       The identity of the author(s) of the document;

               d.       The title or position of the author(s)'

               e.       The recipient(s) or addressee(s) of the document, including any copyees,

                        and their respective titles or positions;

               f.       The nature of the privilege or other protection asserted; and

               g.       A description of the subject matter of the document sufficient to enable the

                        Committee and/or the Court to evaluate such claim of privilege or other

                        protection.

       5.      Notwithstanding the assertion of any objection, any document claimed to be

privileged or otherwise protected from discovery that contains non-privileged material should be

disclosed, with the purportedly privileged section redacted. The redacted portion should be listed

on the Privilege Log.

       6.      All documents should be Bates labeled and marked with appropriate

confidentiality indications, and should be produced in single-page Group IV Tiffs ( except that

Excel spreadsheets should be produced in native form, with a "nativelink" file); with OCR at the




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document level; and with the following load files: LFP. OPT. and DAT. The following metadata

should be provided: BEGDOC, ENDDOC, BEGATTACH. ENDATTACH. PageCt, Author. To.

Cc, Bee, Custodian, Date Sent, Subject, FileName, DateLastMod, and MDSHash.

        7.      If a document called for by a request is known to have existed but cannot be

located now, identify the document and state:

                a.     Whether the document has been in your possession, custody, or control;

                b.     Where the document was last known to be and the date when the

                       document was last known to be in such location;

                c.     In whose possession, custody, or control the document may be found; and

                d.     Where applicable, whether and when the document was destroyed.

        8.      These are continuing requests. Unless otherwise stated, the time period for these

requests is December 1, 2022 to the present.

                                 DOCUMENTS REQUESTED
        1.      All documents and communications concerning the formulation, negotiation and

drafting of the DIP Term Sheet, including. but not limited to, communications (including records

of any phone calls) between or among any of: (i) the Debtors, (ii) Directors; (iii) Paladin and (iv)

RCP .

        2.      All documents and communications relating to or indicating whether the DIP

Term Sheet was, or was not, the product of ·'arms-length negotiations."'

        3.      All documents and communications relating to the DIP Term Sheet, DIP Facility

and the DIP Motion.

        4.      All documents and communications supporting findings requested in the

Proposed Final DIP Order.




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       5.         All documents and communications concerning any actual or potential post-

petition financing for the Debtors other than the DIP Facility, including any efforts to so licit

financing.

       6.         All documents and communications relating to the Roll-Up, as defined in the DIP

Term Sheet and Interim DIP Order, including financing documents and communications between

and among the Debtors, PSZJ, Paladin and the Identified Individuals.

       7.         All documents and communications relating to the case deadlines and milestones

set forth in the DIP Term Sheet.

       8.         All documents and communications concerning the formation of Phoenix.

       9.         All communications and communications concerning the formation of Phoenix

Holdings.

       10.        All documents and communications concerning the retention of Paladin by the

Debtors.

       11.        All documents and communications concerning the appointment of the Identified

Individuals to roles managing the Debtors, including positions as officers or directors.

       12.        All documents and communications concerning the decision to dismiss the

majority of the Debtors' employees after the Petition Date.

       13.        All documents and communications concerning the decision to wind-down the

Debtors' business operations.

       14.        All documents and communications concerning whether Debtors' business

operations continue to operate as a going concern.

       15.        All documents and communications concerning the selection of PSZJ as counsel

to the Debtors.




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       16.     All documents and communications evidencing any and all relationships and/or

connections between RCP and the following: Phoenix, Phoenix Holdings, Paladin, the Identified

Individuals.

       17.     All documents and communications concerning any Claims of RCP against the

Debtors and Phoenix Holdings.

       18.     All documents and communications relating to the Change in Control, as defined

in the First Day Declaration.

       19.     All documents and communications concerning the commencement of the

Bankruptcy Cases.

       20.     Documents sufficient to show your previous involvement in matters with the

Debtors, Jeffrey Dane, David Sloane, and/or Paladin.

       21.     All documents and communications relating to the decision to file the Bankruptcy

Cases in the Bankruptcy Court.

       22.     All documents and communications between you and the Debtors and the

Directors since May 15, 2023.

       23.     All documents and communications relating to the negotiation, drafting and

performance of the Amended and Restated Credit and Security Agreement, dated May 15, 2023,

and executed by AFI and RCP.

       24.     All documents and communications relating to the negotiation, drafting and

performance of the Pledge Agreement, dated May 15, 2023, and executed by Eric Bowlby, Ken

Bowlby and RCP.




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       25.     All documents and communications relating to the negotiation, drafting and

performance of the Guaranty Agreement. dated May 15, 2023, and executed by Eric Bowlby and

RCP.

       26.     All documents and communications relating to the negotiation, drafting and

performance of the Term Sheet, dated March 31 , 2023, and executed by AFI, Eric Bowlby and

RCP.

       27.     All documents and communications relating to the negotiation, drafting and

performance of the Side Letter, dated May 15. 2023, and executed by AFL Eric Bowlby and

RCP.

       28.     All documents and communications relating to the negotiation, drafting and

performance of the Security Agreement, dated May 15, 2023 , and executed by AFI and RCP.

       29.     All documents and communications relating to any "warehouse lines," as that

term is used in the Term Sheet.

       30.     All documents and communications relating to the negotiation, drafting and

performance of the Limited Waiver and Second Amendment to Credit and Security Agreement,

dated May 15, 2023, and executed by AFL Eric Bowlby and RCP.

       31.     All documents and communications the Debtors' need, if any, for post-petition

financing, including without limitations all budgets, projections, models, presentations, and

drafts of any of the foregoing.

       32.     All tax returns and filings for the Debtors for the years 2019 through the present.

       33.     All documents produced to you by any party, other than the Committee, in

response to any subpoena or document requests that you propounded in the Bankruptcy Cases.




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        34.     All documents produced by you to any party, other than the Committee, in

response to any subpoena or document requests that you propounded in the Bankruptcy Cases.

        35.     All documents communications with Debtors' prior management on and prior to

the Petition Date.

       36.      All documents and communications concerning Debtors' assets over which RCP

asserts or has asserted a security interest.
